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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION




INTELLIGENT PAYMENTS, LLC,

            Third Party Plaintiff,

v.                                                  CIVIL ACTION NO.
                                                    1:14-CV-2634-LMM

123 IT SUPPORT, INC., et al.,

            Third Party Defendants.



                                      ORDER

      This matter is before the Court on Third Party Defendant Adam Urban's

Motion for Partial Reconsideration [154]. After due consideration, the Court

enters the following Order:

I.    BACKGROUND

      On February 26, 2018, the Court referred this case to the Magistrate Judge

to conduct mediation between the remaining parties. Dkt. No. [142]. Adam

Urban did not attend the mediation because he claimed that he had relocated to

the Czech Republic and had not been receiving forwarded mail. Dkt. No. [146] at

2-3. The Magistrate Judge recommended that default judgment be entered

against Urban, and the Court adopted the recommendation over Urban's

objection. Dkt. No. [151]. Urban now asks the Court to reconsider its Order

placing Urban in default. Dkt. No. [154].
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   II.      LEGAL STANDARD


         Generally, parties "may not employ a motion for reconsideration as a

vehicle to present new arguments or evidence that should have been raised

earlier, introduce novel legal theories, or repackage familiar arguments to test

whether the Court will change its mind." Brogdon v. Nat'l Healthcare Corp., 103

F. Supp. 2d 1322, 1338 (N.D. Ga. 2000) (internal citations omitted). Rather, to

warrant vacating an order, parties must satisfy the standards of either Rule 59(e)

(motion to alter or amend a judgment) or Rule 6o(b) (motion for relief from

judgment or order). Region 8 Forest Serv. Timber Purchasers Council v. Alcock,

993 F.2d 800, 806 n.5 (11th Cir. 1993).

         Appropriate grounds for reconsideration under Rule 59(e) include: (1) an

intervening change in controlling law, (2) the availability of new evidence, and (3)

the need to correct clear error or prevent manifest injustice. See Hood v. Perdue,

300 F. App'x 699, 700 (11th Cir. 2008) (citing Pres. Endangered Areas of Cobb's

History, Inc. v. U.S. Army Corps of Eng'rs, 916 F. Supp. 1557, 1560 (N.D. Ga.

1995), aff d, 87 F.3d 1242 (11th Cir. 1996)); Estate of Pidcock v. Sunnyland Am.,

Inc., 726 F. Supp. 1322, 1333 (S.D. Ga. 1989). Likewise, appropriate grounds for

reconsideration under Rule 60 include "mistake, inadvertence, surprise, or

excusable neglect," newly discovered evidence, fraud, a void judgment, or a

judgment that has been satisfied or is no longer applicable. FED. R. Crv. P. 6o(b).

A party may also seek relief from a final judgment for "any other reason that

justifies relief." FED. R. Crv. P. 6o(b)(6).


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    III.     DISCUSSION


       Urban argues that the Court should reconsider its Order placing Urban in

default because Urban could not attend the mediation as he was not (1) receiving

mail based on circumstances beyond his control; and (2) given the opportunity to

attend the mediation via phone.1

       As an initial matter, Urban's Motion is untimely. A party must file a motion

for reconsideration within twenty-eight days after entry of the order or judgment

that the party wishes the Court to reconsider. LR 7.2(E), NDGa. The Court

entered its Order placing Urban in default on May 10, 2018, and Urban did not

file his Motion for Partial Reconsideration until July 2, 2018, approximately fifty-

three days later.

       And even if Urban's Motion was timely filed, it would still be denied

because it does not present (1) an intervening change in controlling law; (2) the

availability of new evidence; or (3) the need to correct clear error or prevent

manifest injustice. Hood, 300 F. App'x at 700. Urban already argued that his mail

was not timely forwarded in his objection to the R&R, Dkt. No. [149], and the

Court rejected his argument when it adopted the R&R. Dkt. No. [151]. And

though some parties were given the opportunity to attend the mediation via

phone, those parties "received advanced permission" from the Magistrate Judge

to do so, which Urban did not seek. Dkt. No. [146] at 2.



1The remainder of Urban's Motion seems to be responding to Third Party
Plaintiffs Default Judgment Motion. Dkt. No. [154] at 3-5.

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      Accordingly, Urban's Motion for Partial Reconsideration is DENIED.

IV.   CONCLUSION


      For the above stated reasons, the Court DENIES Urban's Motion for

Partial Reconsideration [154].




      IT IS SO ORDERED this      '1fi!__ day of August, 2018.


                                     HONORABLE         LIGH MARTIN MAY
                                     UNITED STATES DISTRICT JUDGE




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